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                          UNITED STATES DISTRICT COURT
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                                                     fravh
  UNITED STATES OF AM ERICA

  VS.
                                                                      FILED by       .D.G,
  G heorghe A drian Lupu and
  N icolaiC eausescu                                                     AFq 2.2 2214
                               D efendants.
                                                                       STEVEN M.LARIMIIRE
                                           /                           CLERK tJ S DIST PT
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                                                                               tA.-MIAûI
                                CR IM INA L C O V ER SH EET


        Did thismatteroriginate from am atterpending in theNorthern Region oftheUnited
        StatesAttorney'sOfficepriorto October 14,2003?                 Yes      X No

        Did thism atteroriginatefrom amatterpending in the CentralRegion oftheUnited States
        Attom ey'sO ffice priorto Septem ber 1,20072                   Y es   X No


                                           Respectfully subm itted,

                                           W IFREDO A.FERRER
                                           UN ITED STATES ATTO

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                                                                          f
                                    BY :        >            .
                                             A C O SB ORN E
                                           A SSISTAN T U N ITED STAT A TTO RN EY
                                           FloridaBarNo./courtNo.A5500796
                                           500 S.Australian Avenue,Suite400
                                           W estPalm Beach,FL 33401-6235
                                           Te1:(561)820-8711
                                           Fax:(561)820-8777
                                           Email:marc.osbom e@ usdoj.gov
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AO 9I(Rev.08/09) CriminalComplai
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                                U NITED STATES D ISTRICT COURT
                                                        forthe
                                             Southern DistrictofFlorida

                 United StatesofAmerica
                           V.
                Gheorghe Adrian Lupu and
                   NicolaiCeausescu
                                                                 CaseNo./i/.
                                                                           -Jq5J *-Y/>ee'z+<x

                                             CRIM INAL CO M PLAINT
           1,thecomplainantin thiscase,statethatthe following istrue to thtbestofmy knowledge and belief.
Onoraboutthedatels)of May2013through4/26/2014     inthecounty of                          Miami-Dade               inthe
  Southern     Districtof  Florida        ,thedefendantts)violated:
             CodeSection                                           OffenseDescription
18 U.S.C.jj 1029(b)(1),(a)(1),          Conspiracyto commi
                                                         taccess device fraud and conspiracyto commitbank
and (a)(4)                              fraud
18U.S.C.j! 1349and 1344




           Thiscrim inalcomplaintisbased on thesefacts:
                                                 SEE ATTACHED AFFIDAVIT




           W Continuedontheattachedsheet.


                                                                                 Complainant'
                                                                                            ssl
                                                                                              knature
                                                                          ManuelHernandez,SpecialAcent,HSl
                                                                                  Printednameand title

Swornto beforemeand signed in my presence.
                                                                                                           N   .


oate, qlstll-/
       -

                                                                                    Judge'
                                                                                         ssignature

City and state:                 MIAM I,FLORIDA                     ANDREA M.SIMONTON,MAGISTRATE JUDGE
                                                                                  Printed name and title
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         AFFIDAVIY IN SUPPORT O F COM PLAINT AND SEARCH W ARR ANTS
         1,M anuelHernandez,being firstduly sworn, hereby depose and state asfollow s:

         lmakethisaffidavitin supportof1)acomplaintcharging Gheorghe Adrian LUPU and
  NicolaiCEAUSESCU with conspiracy to comm itaçcessdevice fraud and conspiracy to comm it

  barlk fraud between in oraround M ay 2013 through on oraboutApril26, 2014and2)warrants

  to search units3556,2037,and 2542 in the Grand Condominium , 1717 N orth Bayshore D rive

  M iam iFL.

         1am a SpecialAgentofthe United StatesDepartmentofHom eland Security Im migration

  Customs EnforcementAgency office ofHomeland Security lnvestigations (i$HSI''),and have
 been so employed since M arch 2010.Iam an investigative or law enforcem ent officer ofthc

 United Stateswithin the meaning ofSedion 25l0(7)ofTitle 18,United StatesCode,Section
 2516.1am currently assigned to the H SlM iam iSpecialA gentin Charge. Priorto H SI,Iserved as

 a Special Agent of the United States Departm ent of H ea1th and Hum an Services Office of the

 lnspector Generalfrom approximately M arch 2005 untilFebruary 2010.During my tenure as a

 specialagent,lhave conducted num erouscrim inalinvestigationsinto, am ong othercrim es,bank

 fraud,fraud and related adivity in connedion with accessdevices,fraud and related activity in

 connection with identification documents,authentication features and information, aggravated

 identity theftand conspiracy.

         The facts in this affidavit com e from my personal observatiöns, m y training and

  experienee, and information obtained from other agents, 1aw enforcem ent offcers, bank

  surveillance video, bank transaetion records, leasing records, State of Florida M otor V ehicle

  records,and witnesses.Thisaffidavitisintended to show m erely thatthereissufticientprobable
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  cause for the requested search w arrants and does not set forth al1of m y know ledge about this

  m atter.

         Your aftsant is investigating a suspected case involving a schem e to defraud generally

  referredto asATM Skimm ing.In thisschem e, asmallportablecard-readingdevice(tiskimming

  device'')isplacedoverorinsideofthemouthofthecard slotofabankautomatedtellermachine
  (ATM )tocreateafalsefront.Theskimmingdeviceisoften attached usingglue.Thisskimming
  device reads and stores the information encoded on the m agnetic stripes of the debit or credit

  cards that are introduced in the ATM by legitim ate bank customers. A m iniature cam era is

  surreptitiously mounted somewhere on the ATM ,usually concealed within the lightpanelor

  builtinto the device itself,to capture customers entering their PersonalIdentification Number

  (ttP1N'') access codes. After the perpetrators of the scheme have removed the undetected
  skimm ing device and camera,the debitcard numbers stored in the skim merand the video from

  the camera are electronically extracted (ssdownloaded'')from the skimming deviee using a
  com puter.The downloaded debitcard numbersare subsequently electronically re-encoded onto

  the magnetic stripsofblank plastic cardsorgiftcards.These m anufactured cards,containingthe

  legitim ate bank custom ers'inform ation,then serve in place of the actualbarlk debitcards. The

  video, obtained from the cam era, is reviewed by the perpetrators in order to obtain the

  custom ers' Pm access codes.These counterfeit debitcards are then ttsed in com bination w ith

  PIN access codes to m ake unauthorized withdrawals from the legitimate bank custom ers'

  accounts.

         On approxim ately D ecem ber 14th, 2013 U nited States Custom s and Border Protection

  (d$CBP'')intercepted anintemationalpackagewherein ElenaMoldovan,with an addressof6538
  Collins Avenue #644 M iam i Beach, FL 33141, w as listed as the consignee. W ritten on the


                                                2
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  outside shipping label of the package w as (sspare part for m achine''. U pon opening the

  internationalpaekage,pursuantto border authority, CBP discovered thatthe package eontained

  whatwaslateridentitied asan electronic componentthatcould beused in askim mingdevice.

         On approxim ately December23rd,2013,pursuantto a Grand Jury Subpoena, youraftiant

  obtained records from the UPS Store 3041 located at 6538 Collins A venue M iam i Beach, FL
                                                                     '

  33141,for box 644.The M ailbox Service Agreem ent, dated N ovem ber 12th,2013,lists Florian

  M artin as the applicant.Romanian passpol't 14828097 depicting the nam e Florian Claudiu

  Martin (SCMARTIN'')dateofbirth 04-05-1976,wasprovided asidentifieation.Additionally,the
  UPS Store advised thatM OLDOVAN isan authorized representative and provided copiesofher

  lntem ational Driver's license and her imm igration parole both depicting M OLDOVAN 'S

  photograph.A UPS Store representative reported to me thatM OLDOVAN and M ARTIN both

  regularly pickedup packagesfrom thebox.

         ln January 2014,SunTrustBank representatives reported to youraffiantthatbeginning

  no later than M ay 2013 a then-unidentified m ale, later identified as M ARTIN as further

  described below,and several other yet-to-be-identified individuals were captured on SunTxust

  Bank ATM Surveillancevideo installing,maintaining,and removing both skimm ing devicesand

  the corresponding video cam eras as well as conducting unauthorized w ithdraw als from

  com prom ised bank accounts.O n April 16th,2014 SunTrustBank representatives reported that,

  since M ay 2013,M ARTIN has been personally involved w ith at least 45 different skim m ing

  events wherein approxim ately 639 bank cards were compromised resulting in an actuallossto

  SunTrust Bank of approxim ately $134,960. l have reviewed still photographs provided by

  SunTrustBank taken from ATM surveillance video ofm any ofthese incidents as w ellas logs of

  ATM activity. Based on this review , l observed that, on num erous occasions, M A RTIN
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  withdrew funds from multiple accounts thathad earlierbeen comprom ised by ATM skim ming,

  in otherwords,accountsforwhich debitcardshad been inserted into an ATM between thetime a

  skim merwasinstalled on theATM and thetim ethe skimm erwasxem oved. lalso obselwed that,

  on som e occasions,M A RTI!N rem oved skim m ers from A TM S.

         FBISpecialAgentKevin M orrisey showed an FB1ContidentialHuman Source(çtCHS'')
  a stillphotograph ofthe aforem entioned ATM surveillance video. The CH S recognized the m ale

  individual eaptured on the surveillanee video and advised that he resided at the DoubleTree

  residences in M iam i,FL.

         Y ouraffiantalong w ith FBlSpecialA gentK evin M onisey obtained leasing records from

  The Grand Condom inium located at 1717 North Bayshore Drive M iam i FL. The Grand

  Condominium isadjacenttotheDoubleTreeHotel.Containedwithin theleasingdocumentswas
  a copy ofa Florida Driver'sLicense belonging to Florian Claudiu M artin having a date ofbirth

  of 04-05-1976.Em ployees of G lobalG rand M anagem ent,a com pany that m anages num erous

  unitswithin The Grand Condom inium,advised thatM ARTIN livesin unit3556 and thathe pays

  the monthly rentofthatunitand atleastthreeothersin cash.The employeesfurtheradvised that

  although units 2037, 2542, and 4244 are registered to tlu'ee other individuals it is in fact

  M ARTIN w ho paysthe m onthly rentofthe those units in vash and he is the em ploytes'pointof

  contact with respects to allfour units.The ow ner of G lobal Grand M anagem ent also owns the

  units itm anages,including the fourunits M A RTIN rents.

         A check ofU .S.im m igration recordsrevealed thata Florian Claudiu M artin having a date

  of bil'th of 04-05-1976 was encountered by im m igration officials on 02-21-2011 near D ouglas

  A rizona after having illegally crossed on footinto the U nited States from M exico.M artin sought

  asylum and w asreleased on bond.He currently hasa pending asylum application.
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         A review of the photograph on M ARTIN 'S driver's license,the aforementioned stills

  from SunTrustBank ATM surveillance video,and thephotograph taken during the 02-21-2011

  im m igration encounter indicates that the m ale in the SunTrust Bank surveillance photographs

  appearsto be M A RTIN .

         On 04-28-2014,youxaffiantreceived stillphotographsofATM surveillance video from

  SunTrustBank.M ARTIN is depicted on a photograph dated 04-26-2014 taken at a SunTrust

  A TM located at the Lincoln Road M all in M iam i Beach, FL. SunTrust reported that the

  transaction thatM A RTIN perform ed atthisA TM w asan unauthorized withdraw aloffunds from

  an accountthatwas compromised during a 04-12-2014 skimm ing incidentthat occurred ata

  SunTrustBank A TM located in Apopka,FL.

         On Tuesday,April29,2014,the Honorable Andrea M .Simonton issued a warrantfor

  M artin's arrest in Case N o.14-2512-Sim onton.At approxim ately 6:00 AM this m om ing,A pril

  30,2014,1and otherH S1and Federalagents and 1aw enforcem entofticersw entto the fourunits

  ofthe G rand Condom inium forwhich M A RTIN paysthe rentin cash,including apartm ent3556.

         l and other agents knocked on the door to unit 3556 and announced our identities,but

  received no answer.W e then used a key provided by the apartment's ownerto open the door.

  U pon opening the door,w e w ere approached by an occupantfrom inside the apartm ent.1asked

  his consent to enter the apartm ent, which he gave. ln the apartm ent, w e observed six m ale

  individuals.M A RTIN w as notam ong them .

         A gents perform ed a security sw eep of the four-bedroom apartm ent. ln one of the

  bedroom s, an agent observed in plain view an open bag, inside w hich the agent observed

  sandpaper and spray paint. Based on m y training and experience, 1 know that individuals

  com m itting A TM skim m ing oflen use sandpaper to sand down the side ofthe skim m er thatw ill
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  be gluedto theATM ,in orderto help itadhere.

         Som e ofthe occupantswere in theirunderwear.The otheroccupantswere patted down

  forofficersafdy.An agentfeltaforeign objed inoneofthepoeketsofM ateiAugustinM IREA
  KASIM IADOU.Theagentremoved theobjectandobserved ittobe $820in twentydollarbills
  and an American Express giftcard with a white stieker attached to it. W ritten on the w hite

  stickerwasa 4-digitnumber.Based on my training and experience,llm ow thatgiftcardsean be

  reencodedto function ascounterfeitdebit(ATM )cards,asdescribed above,andthatATM Pm s
  areoften four-digitnum bers.

         A gents asked al1six individuals for their passports or im m igration docum ents to check

  theirim m igration status.M IREA K ASIM IADOU stated thathispassportwasloeated in a black

  bag to which he directed agents.The bag was locked with a combination lock.An agentasked

  M IREA KASIM IADOU forthe combination to the lock and asked hisconsentto open the bag

  and retrieve hispassport.He gave the agentthe combination and hisconsent.An Agentopened

  the bag and found inside,am ong otherthings,$6,000 in twenty dollarbills,in tlu'ee staeks of
  $2,000 each.
         Laurentiu GR IM BERG stated thathis passportw as located in a brow n bag in one ofthe

  bedroom s.This bedroom is notthe one where the sandpaperwas seen in plain view.An agent

  opened the bag and found,am ong other things,approximately $22,711 in cash in bills that
  included hundreds,fifties,and tw enties.The agent also found a num ber of bank cards and gift

  cards, including A m erican Express gift cards w ith a w hite stickers attached to them . O n the

  stickersw ere written four-digitcodesand people'snam es.

         Agents asked the occupants ofunit3556 fortheirconsentto search the apartm ent.V ictor

  Gabriel TICU S stated that he lived in one of the bedroom s and gave consent to search that
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  bedroom .Thisbedroom is noteither ofthe two bedroom salready discussed. H e stated thathe

  used only a portion of a dresser in thatbedroom . A gents searched the bedroom ,including his

  portion ofthe dresser,butnotthe restofthedresser. ln hisportion ofthe dresstr,an agentfound

  two portable hard drives.An agentalso found a number ofprepaid cards, giftcards,and debit

  cards.Som e ofthe gifteardshad white stickers attached to them on which were written four-

  digitnum bers.

         As discussed above,atthe same time that1 and other agents entered apartm ent3556,

  agents also went to the door of unit 2037. Agents knocked on the door. M anagem ent had

  previously told us that that apartment was rented in the name of Gheorghe Adrian LUPU ,

  although M A RTIN paid the rent.An individualopened the door to unit 2037 and agents asked

  for consent to enter,w hich the occupant gave. Once inside, agents observed two oecupants,

  LUPU and N icolaiCEAUSESCU.Based on the SunTrustBank photographs discussed above,

  LUPU appears to be the individual who removed the skim m ing device from the ATM in

  Apopka,FL on 04-12-2014,as discussed above.CEAUSESCU appearsto be an individualwho

  made an unauthorized withdrawaloffunds from an accountthatwas comprom ised during this

  skim m ing incident. CEA U SESCU m ade this w ithdraw al on 04-26-2014 at a SunTrust Bank

  ATM in M iamiBeach.As discussed above,M ARTIN also m ade an unauthorized withdrawal

  from an accountcom prom ised dm ing the sam e skim m ing incident,also on 04-26-2014.

         A gents asked LUPU and CEAU SESCU forconsentto search the apartm ent.LU PU gave

  consent.ln a suitcasein acloset,an agentfound aplasticbag in which theagentfound $8,000 in
  twenty dollarbills,in four stacks of $2,000 each.Atthatpoint,the search was term inated to
  aw aita search warrant.

         A tapproxim ately 6:00 A M ,agentsalso wentto the doorsto units 2542 and 4244.A gents
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   knocked on the doors butreceived no answ ers.A tapproxim ately 6:45 AM , agents requested that

   the owner open the doors,which he did.Agents entered apartm ent 4244 and found that it

   appeared to be vacantand was alm ostempty.Agents also entered apartment 2542. lnside the

   apartm ent,agents conducted a security sweep.Agents also asked the occupants fox consentto

   search.The oceupantsgave consent,butno additionalsearch wasconduded beyond the security

   SW eeP.

          AssistantUnited StatesAttorney M arc Osbornehasadvised m ethattheagents'entry into

   and sweep or search ofapartm ent2542 m ay have been unconstitutional.Osborne also advised

   that,pursuanttoMurrayv.UnitedStates,487U.S.533 (1988),even ifthesweep orsearch was
   unconstitutional,lean stillobtain a warrantto search unit2542.Osborne advised that, under

   M urray,Ishould notdescribe the results ofthe sweep or search thatwas already conducted in

   thiswarrantapplication.Osbornealso advised thatawarrantto search 2542 could be issued only

   ifIttw ould have soughta w arrant''even ifthe unithad notalready been sw eptor searched. Id at

   543.

          Beeause of the evidentiary value of the item s found in units 3556 and 2037 and the fact

   thatM ARTFN paid the rentforunit2542 as wellas 3556 and 2037,allin cash,1would have

   applied for a warrantto search unit2542 even ifagents had notalready entered thatunitand

   conducted a security sw eep orsearch.




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          Based on m y observations and those of otheragents,Attachm entA-3556, A -2037,and

   A-2542 accurately describeunits3556,2037,and 2542 respectively in theGrand Condominium ,

   1717 N orth B ayshore D rive M iam iFL.

                                                   Respectfully s                    'ted,
                                                      . ......   ''
                                                ... .*,                               .,,'-
                                                                                          sx




                                                   M anuelH e n ez
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                                                   Hom eland Security lnvestigations

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          SubscribedandsworntobeforemeonthisJVJ '''!i;pl!.''--.dayofApril,2014
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          UN ITED STA TES M A G ISTRATE JU DG E




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 Case 1:14-cr-20335-CMA Document 1 Entered on FLSD Docket 05/01/2014 Page 12 of 13




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DEFENDANT Gheorghe Adrian Lupu
             :

                 PRETRIAL DETENTION
             (Surety)(Recognizance)(Corp.Surety)(Cash)(JaiI)
             (CSB)(No Bond)(W arrant)(Summons)(M arshal'sCustody)


                                                            %


                                            B :        >        r
                                                      A: MARC OSBO RNE




LastK nown Address:




W hatFacility:




Agentts):            S/A ManuelHernandez,HSI
                     (FB1) (SECRET SERVICE) (DEA) (IRS) (lCE) (OTHER)
 Case 1:14-cr-20335-CMA Document 1 Entered on FLSD Docket 05/01/2014 Page 13 of 13




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                                   BO ND RECO M M END ATIO N


DEFENDANT NicolaiCeausescu
             :              .




                 PRETRIAL DETENTION
             (Surety)(Recognizance)(Corp.Surety)(Cash)(JaiI)
             (CSB)(NoBond)(W arrant)(Summons)(Marshal'sCustody)



                                              By:
                                                         .   MARC OSBORNE




LastKnown A ddress:




W hatFacility:




Agentts):            S/AManuelHernandez,HSI
                     (FBI) (SECRET SERVICE) (DEA) (IRS) (ICE) (OTHER).
